                 Case 1:14-cv-00059-JTC Document 1 Filed 01/29/14 Page 1 of 6



 1   UNITED STATES DISTRICT COURT
     WESTERN DISTRICT OF NEW YORK
 2
     VICENTA ANDINO, AND EDWIN     )
 3
     ANDINO                        )
                                   )
 4
              Plaintiffs,          )
                                   )                        Case No.:
 5
              v.                   )
                                   )                        COMPLAINT AND DEMAND FOR
 6
     MERCANTILE ADJUSTMENT BUREAU, )                        JURY TRIAL
     LLC,                          )
 7
                                   )                        (Unlawful Debt Collection Practices)
              Defendant.           )
 8
                                   )
 9

10          VICENTA ANDINO AND EDWIN ANDINO, (“Plaintiffs”), by their attorneys,

11   KIMMEL & SILVERMAN, P.C., allege the following against MERCANTILE ADJUSTMENT
12   BUREAU, LLC (“Defendant”):
13

14
                                             INTRODUCTION
15
            1.      Plaintiffs’ Complaint is based on the Fair Debt Collection Practices Act, 15
16
     U.S.C. § 1692 et seq. (“FDCPA”).
17

18
                                      JURISDICTION AND VENUE
19

20
            2.      Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states

21   that such actions may be brought and heard before “any appropriate United States district court

22   without regard to the amount in controversy,” and 28 U.S.C. § 1331 grants this court original

23   jurisdiction of all civil actions arising under the laws of the United States.

24          3.      Defendant conducts business and maintains its headquarters in the State of New
25
     York, and as such, personal jurisdiction is established.


                                                        1

                                          PLAINTIFFS’ COMPLAINT
                  Case 1:14-cv-00059-JTC Document 1 Filed 01/29/14 Page 2 of 6



 1          4.       Venue is proper pursuant to 28 U.S.C. §§ 1391(b)(1) and 1391(b)(2).
 2                                                PARTIES
 3
            5.       Plaintiffs, Vicenta and Edwin Andino are natural persons residing in Kenmoore,
 4
     New York.
 5
            6.       Plaintiffs are each a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).
 6
            7.       Defendant is a national debt collection company with its corporate headquarters
 7
     located at 165 Lawrence Bell Dr., Suite 100, Williamsville, New York 14221.
 8
            8.       Defendant is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6),
 9
     and repeatedly contacted Plaintiffs in an attempt to collect a debt.
10

11          9.       Defendant acted through its agents, employees, officers, members, directors,

12   heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

13

14                                     FACTUAL ALLEGATIONS
15          10.      At all relevant times, Defendant contacted Plaintiffs, Edwin and Vicenta in its
16
     attempts to collect a consumer debt.
17
            11.      The alleged debt at issue arose out of transactions made by Plaintiff, Vicenta
18
     Andino, which were for personal, family, or household purposes.
19
            12.      Plaintiff, Vicenta Andino is a 96 year old woman, who suffers from dementia and
20
     has been confined to her son, Edwin Andino’s home for at least the past six years.
21
            13.      Plaintiff, Edwin Andino is the son, power of attorney, and primary caretaker of
22

23
     Vicenta.

24          14.      Plaintiffs aver that no debts of Mrs. Andino are outstanding, due or owing.

25          15.      Throughout February 2013, Defendant’s collectors, including Mike Waters,


                                                       2

                                          PLAINTIFFS’ COMPLAINT
                  Case 1:14-cv-00059-JTC Document 1 Filed 01/29/14 Page 3 of 6



 1   placed repeated harassing telephone calls to Plaintiffs home telephone number from numbers
 2   including 877-254-0943. The undersigned has confirmed this number belongs to Defendant.
 3
            16.      These calls occurred frequently despite Plaintiff Edwin’s assertions that his
 4
     mother could not have incurred the alleged debt.
 5
            17.      Plaintiff, Edwin Andino has advised Defendant’s collectors that his mother does
 6
     not owe any debt and has specifically demanded that Defendant stop calling them.
 7
            18.      Defendant has continued to call Plaintiffs against their express wishes.
 8
            19.      Plaintiffs aver that when Defendant was told the calls were unwanted and to stop
 9
     placing them, there was no lawful purpose for placing additional calls, nor was there any good
10

11   faith reason to do so.

12          20.      Further, Defendant failed to provide Plaintiffs mandated FDPCA disclosures in

13   writing after reaching Plaintiffs.

14          21.      Defendant’s actions as described herein were taken with the intention of
15   annoying, harassing, and coercing payment from Plaintiffs for this alleged debt.
16

17
                                        COUNT I
18                    DEFENDANT VIOLATED § 1692d and § 1692d(5) OF THE
                          FAIR DEBT COLLECTION PRACTICES ACT
19
             22.     Section 1692d of the FDCPA prohibits debt collectors from engaging in any
20
     conduct, the natural consequence of which is to harass, oppress or abuse any person, in
21
     connection with the collection of a debt.
22

23
            23.      Section 1692d(5) of the FDCPA prohibits debt collectors from causing a

24   telephone to ring or engaging any person in telephone conversation repeatedly or continuously

25   with the intent to annoy, abuse or harass any person at the called number.


                                                      3

                                          PLAINTIFFS’ COMPLAINT
                  Case 1:14-cv-00059-JTC Document 1 Filed 01/29/14 Page 4 of 6



 1          24.      Defendant violated § 1692d(5) of the FDCPA when it made repeated calls to
 2   Plaintiffs’ telephone after being to told to cease calls, with the intent to harass or annoy Plaintiff.
 3

 4
                                    COUNT II
 5            DEFENDANT VIOLATED §§ 1692e, 1692e(2)(A) and 1692e(10) OF THE
                      FAIR DEBT COLLECTION PRACTICES ACT
 6
            25.      Section 1692e prohibits debt collector from using false, deceptive or misleading
 7
     information in connection with the collection of any debt.
 8
            26.      Section 1692e(2) prohibits a debt collector from falsely asserting the fact of any
 9
     compensation which may be lawfully received by the collector.
10

11          27.      Section 1692e(10) prohibits debt collector from using fany false representation or

12   deceptive means to collect or attempt to collect any debt or to obtain information concerning a

13   consumer.

14          28.      Defendant violated §§ 1692e, 1692e(2)(A) and 1692e(10) when it sought to
15   collect an amount from Plaintiffs that was not owed.
16

17
                                         COUNT III
18                           DEFENDANT VIOLATED § 1692f OF THE
                            FAIR DEBT COLLECTION PRACTICES ACT
19
            29.      Section 1692f prohibits a debt collector from using any unfair or unconscionable
20
     means in connection with the collection of a debt.
21
            30.      Section 1692f(1) prohibits a debt collector from the collection of any amount of
22

23
     money, including interest, fees, charges, or expenses that are incidental to the principal

24   obligation.

25          31.      Defendant violated §§ 1692f and 1692f(1) when it sought to collect an amount


                                                        4

                                          PLAINTIFFS’ COMPLAINT
                  Case 1:14-cv-00059-JTC Document 1 Filed 01/29/14 Page 5 of 6



 1   from Plaintiffs that was not owed, and when it engaged in other unfair and unconscionable
 2   practices.
 3

 4

 5                                       COUNT IV
                            DEFENDANT VIOLATED § 1692g(a) OF THE
 6                          FAIR DEBT COLLECTION PRACTICES ACT

 7          32.      Section 1692g(a) of the FDCPA states that within five days after the initial

 8   communication with a consumer in connection with the collection of a debt, a debt collector shall
 9
     send the consumer a written notice containing the amount of the debt, the name of the creditor to
10
     whom the debt is owed, and that if the debt is disputed, the debt collector will obtain verification
11
     of the debt.
12
            33.      Defendant violated § 1692g(a) of the FDCPA when it failed to send such a notice
13
     to Plaintiffs in regard to the alleged debt within five days of its initial contact with the Plaintiffs,
14
     in violation of the FDCPA.
15

16

17
            WHEREFORE, Plaintiffs EDWIN ANDINO and VICENTA ANDINO, respectfully pray
18
     for a judgment as follows:
19
                     a. All actual damages suffered pursuant to 15 U.S.C. § 1692k(a)(1);
20
                     b. Statutory damages of $1,000.00 for the violation of the FDCPA pursuant to
21
                         15 U.S.C. § 1692k(a)(2)(A);
22

23
                     c. All reasonable attorneys’ fees, witness fees, court costs and other litigation

24                       costs incurred by Plaintiffs pursuant to 15 U.S.C. § 1693k(a)(3); and

25                   e. Any other relief deemed appropriate by this Honorable Court.


                                                        5

                                          PLAINTIFFS’ COMPLAINT
                Case 1:14-cv-00059-JTC Document 1 Filed 01/29/14 Page 6 of 6



 1

 2

 3                                       DEMAND FOR JURY TRIAL
 4          PLEASE TAKE NOTICE that Plaintiffs VICENTA ANDINO AND EDWIN ANDINO,
 5
     demand a jury trial in this case.
 6

 7
                                                   RESPECTFULLY SUBMITTED,
 8
       DATED: 01/29/2014                           KIMMEL & SILVERMAN, P.C.
 9
                                                  By: _/s/ CRAIG THOR KIMMEL_
10                                                CRAIG THOR KIMMEL
                                                  Attorney ID # 2790038
11
                                                  Attorney for Plaintiffs
                                                  1001 Avenue of the Americas,12th Floor
12
                                                  New York, NY 10018
13                                                Phone: (212) 719-7543
                                                  Fax: (877) 617-2515
14                                                Email: kimmel@creditlaw.com

15

16

17

18

19

20

21

22

23

24

25



                                                      6

                                           PLAINTIFFS’ COMPLAINT
